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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                Chapter 11

    THE GREAT ATLANTIC & PACIFIC TEA                      Case No. 15-23007-rdd
    COMPANY, Inc., et al.,1
                                                          Jointly Administered
    Debtors.
    THE GREAT ATLANTIC & PACIFIC TEA
    COMPANY, INC., et al.,

    Plaintiffs,                                           Adv. Proc. No. 18-08245 (RDD)

                           v.                             NOTICE OF DEFENDANTS’ MOTION
                                                          FOR SUMMARY JUDGMENT
    PEPSICO, INC., et al.,                                ON COUNTS ONE THROUGH FOUR
                                                          AND PARTIAL SUMMARY JUDGMENT
    Defendants.                                           ON COUNTS FIVE THROUGH
                                                          TWENTY-FIVE




1
 The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live Better, LLC;
A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.; Borman’s, Inc.; Delaware
County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza Corp.; Montvale Holdings, Inc.;
Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.; Plainbridge LLC; Shopwell, Inc.; Super Fresh
Food Markets, Inc.; The Old Wine Emporium of Westport, Inc.; Tradewell Foods of Conn., Inc.; and Waldbaum,
Inc. (collectively, the “Debtors”).


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        PLEASE TAKE NOTICE that pursuant to the accompanying Memorandum of Law In

Support of Motion for Summary Judgment on Counts One Through Four and Partial Summary

Judgment on Counts Five Through Twenty Five, Defendants’ Local Rule 7056-1(b) Statement of

Material Facts Not in Dispute, and the Declarations of Joseph D. Frank and Jeremy C. Kleinman

and the exhibits annexed thereto, Defendants, through their undersigned counsel, will move

before the Honorable Robert D. Drain, United States Bankruptcy Judge for the Southern District

of New York (the “Bankruptcy Court”), 300 Quarropas Street, White Plains, NY 10601-4140, on

December 11, 2019 at 10:00 a.m., for entry of an Order pursuant to Rule 56 of the Federal Rules

of Civil Procedure, made applicable herein by Rule 7056 of the Federal Rules of Bankruptcy

Procedure, granting summary judgment in Defendants’ favor on Counts One Through Four of

the Plaintiffs’ Second Amended Adversary Complaint (the “Complaint”) and granting partial

summary judgment in Defendants’ favor on Counts Five through Twenty-Five of the Complaint

(the “Motion”).

        PLEASE TAKE FURTHER NOTICE that any response or objection (“Objection”) to the

Motion must be in writing, shall conform to the Federal Rules of Bankruptcy Procedure and the

this Court’s Local Rules, and shall be filed with the Bankruptcy Court (a) by attorneys practicing

in the Bankruptcy Court, including attorneys admitted pro hac vice, electronically in accordance

with General Order M-399 (which can be found at www.nysb.uscourts.gov), and (b) by all other

parties in interest, on a CD-ROM, in text-searchable portable document format (PDF) (with a

hard copy delivered directly to Chambers), in accordance with the customary practices of the

Bankruptcy Court and General Order M-399, to the extent applicable, and served in accordance

with General Order M-399 so as to be received no later than November 4, 2019 at 4:00 p.m. (the

“Objection Deadline”).



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        PLEASE TAKE FURTHER NOTICE that if no Objection is timely filed and served with

respect to the Motion, the Defendants may, on or after the Objection Deadline, submit to the

Bankruptcy Court an order substantially in the form of the Proposed Order attached hereto as

Exhibit A, which order may be entered with no further notice or opportunity to be heard.

Dated: October 4, 2019                              Respectfully submitted,

                                                    /s/ Jeffrey Chubak
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                                           Exhibit A
                                        [Proposed Order]




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                               Chapter 11

 THE GREAT ATLANTIC & PACIFIC TEA                     Case No. 15-23007-rdd
 COMPANY, Inc., et al.,
                                                      Jointly Administered
 Debtors.
 THE GREAT ATLANTIC & PACIFIC TEA
 COMPANY, INC., et al.,

 Plaintiffs,

                           v.                         Adv. Proc. No. 18-08245 (RDD)

 PEPSICO, INC., et al.,

 Defendants.


           PROPOSED ORDER GRANTING SUMMARY JUDGMENT ON COUNTS
            ONE THROUGH FOUR AND PARTIAL SUMMARY JUDGMENT ON
                     COUNTS FIVE THROUGH TWENTY-FIVE


          Upon Defendants’ Motion for Summary Judgement on Counts One Through Four and

Partial Summary Judgment on Counts Five Through Twenty-Five (the “Motion”); and the Court

having considered the Motion, any opposition to the Motion, any replies filed by the Defendants,

and the arguments of counsel concerning the Motion, at a hearing before the Court on December

11, 2019 (the “Hearing”); and after due deliberation thereon; and good and sufficient cause

appearing therefore;

IT IS HEREBY ORDERED THAT:

          1.     The Court finds that the legal and factual bases for the Motion have been

established. There are no genuine issues of material fact as to Counts One through Four of the




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Complaint and with respect to certain portions of Counts Five Through Twenty Five of the

Complaint.

        2.       The Motion is GRANTED as set forth herein.

        3.       Judgment is granted in favor of Defendants as to Counts One Though Four of the

Second Amended Adversary Complaint [Dkt. 17].

        4.       Judgment is granted in favor of Defendants as to Counts Five Though Twenty

Five of the Second Amended Adversary Complaint with respect to any claims arising from the

sale of goods that accrued prior to April 16, 2014.

        5.       Judgment is granted in favor of Defendants as to Counts Five Though Twenty

Five of the Second Amended Adversary Complaint with respect to any claims not arising from

the sale of goods that accrued prior to April 16, 2012.

        6.       This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.



DATED: __________________, 2019
White Plains, New York



                                                _________________________________________
                                                THE HONORABLE ROBERT D DRAIN
                                                UNITED STATES BANKRUPTCY JUDGE




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